                UNITED STATES COURT OF APPEALS
                    FOR THE EIGHTH CIRCUIT

                                    No: 24-1406

                             Home Depot U.S.A., Inc.

                                               Petitioner

                                          v.

                          National Labor Relations Board

                                            Respondent

                             ------------------------------

              Chamber of Commerce of the United States of America

                                          Amicus Curiae

                                Cato Institute, et al.

                                  Amici on Behalf of Petitioner

       American Federation of Labor and Congress of Industrial Organizations

                               Amicus on Behalf of Respondent


                                    No: 24-1513

                             Home Depot U.S.A., Inc.

                                            Respondent

                                          v.

                          National Labor Relations Board

                                               Petitioner

                             ------------------------------

              Chamber of Commerce of the United States of America

                                          Amicus Curiae

                                Cato Institute, et al.

                                Amici on Behalf of Respondent


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             American Federation of Labor and Congress of Industrial Organizations

                                         Amicus on Behalf of Petitioner

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                     Appeal from National Labor Relations Board
                                  (18-CA-273796)
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                                                ORDER

       Petitioner’s motion for extension of time to file the reply brief is granted. Petitioner may

have until August 30, 2024 to file the brief.

                                                     July 19, 2024




Order Entered Under Rule 27A(a):
Acting Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
           /s/ Maureen W. Gornik




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